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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

  CELLULAR COMMUNICATIONS
  EQUIPMENT LLC,
       Plaintiff,
                                                      CIVIL ACTION NO. 6:13-cv-507
  v.
                                                      CONSOLIDATED LEAD CASE
  HTC CORPORATION, et al.,
       Defendants.

  CELLULAR COMMUNICATIONS
  EQUIPMENT LLC,
       Plaintiff,

  v.
                                                       CIVIL ACTION NO. 6:14-cv-759
  SAMSUNG ELECTRONICS CO., LTD., et
  al.,
       Defendants.

  CELLULAR COMMUNICATIONS
  EQUIPMENT LLC,
       Plaintiff,
                                                      CIVIL ACTION NO. 6:14-cv-982
  v.
                                                      CONSOLIDATED LEAD CASE
  LG ELECTRONICS, INC., et al.,
       Defendants.



                                        ORDER

       Before the Court is the Joint Motion to Sever filed by all the parties to the above-

captioned actions (“the Motion”). Case No. 6:13-cv-507, Doc. No. 577; Case No. 6:14-cv-759,

Doc. No. 218; Case. No. 6:14-cv-982, Doc. No. 203. The Court is of the opinion that the Motion

should be GRANTED.

       It is therefore ORDERED that all claims pertaining to U.S. Patent No. 7,218,923 are


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hereby severed from the above-captioned cases into separate causes of action. The Clerk of the

Court is ORDERED to assign a new case number for each of the severed actions, as set forth in

the Motion. The Clerk is ORDERED to consolidate the new actions for pre-trial purposes, with

the first case opened to serve as the lead case. Upon consolidation, the Clerk is ORDERED to

stay the consolidated proceedings pending the resolution of IPR2015-01927 by the Patent Trial

and Appeal Board.

       It is further ORDERED that the Clerk shall docket this Order as well as the most recent

Complaint in each newly-created case. The parties have five (5) days from the date of entry of

this Order to agree on what documents they will designate to be carried over from the above-

captioned actions and docketed in the newly-created causes of action.

       The Clerk shall waive payment of a filing fee for the severed cases.



               So ORDERED and SIGNED this 20th day of April, 2016.




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